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UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RICO

 

ORIENTAL FINANCIAL SERVICES
CORP.,

Petitioner,
v.
PEDRO ENRIQUE BOJ UMPIERRE,

Respondent.

 

 

OVIDIO TORRENS-CASTRO,

CARMEN DELIA CALDERON-ESTRADA,
and the CONJUGAL PARTNERSHIP
TORRENS~CALDERON,

Plaintiffs,
v.
JOHN DOE, RICHARD DOE,
MICHAEL C. MURILLO, and
SALOMGN WHITNEY FINANCIAL, LLC,

Defendants.

 

YOUNG, D.J.l

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CIVIL ACTION
NO. 3:17-01817-WGY

CIVIL ACTION
NO. 3:17-01745-WGY

July 27, 2018

MEMORANDUM CONCERNING ARBITRATION ISSUES

I. ORIENTAL FINANCIAL SERVICE CORP. V. UMPIERRE

The respondent, Pedro Enrique Boj Umpierre (“Umpierre”)

 

1 Of the DiStrict of Massachusetts,

sitting by designation.

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seeks reconsideration of this Court's June 20, 2018 confirmation
Of an arbitration award in favor of Oriental Financial Services
Corp. (ECF No. 41). The Court denied Umpierre’s motion for
reconsideration (ECF No. 42) on July 23, 2018.

Umpierre seems to think that a petition to confirm an
arbitration award is the commencement of a new case. It is not.
In the absence of egregious impropriety, the court’s only
function is to confirm the award. Even mistake of law will not
prevent confirmation. Prudential-Bache Sec., Inc. v. Tanner, 72
F.3d 234, 239 n.6 (lst Cir. 1995). Here, after careful review
of the record, there appears no impediment to confirming the
award and the Court acted promptly to do so. Delay frustrates
one of the salutary purposes of arbitration. §§§ 16th St.
Investments, LLC v. KTJ 216, LLC, No. 3:17-00174-WGY-ARS, 2018
WL 1612189, at *l (D.N.D. Apr. 3, 2018).

II. TORRENS-CASTRO v. SALOMDN WHITNEY AND MURILLO

In this case, the plaintiffs complain of the defendants’
fraud and misrepresentations in the sale of securities. Ovidio
Torrens-Castro (“Torrens-Castro”) had executed a broad
arbitration agreement with Salomon Whitney Financial, LLC
(“Salomon”) and Salomon at once moved to dismiss, claiming that
arbitration was Torrens-Castro's sole remedy.

The Court had a number of problems with the claim to

arbitration. First, the arbitration contract is in English.

[2]

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Torrens-Castro speaks only Spanish. He claims he did not
understand he was signing away his statutory rights.2 In light

of Soto v. State Indus. Prod., Inc., 642 F.3d 67 (1st Cir.

 

2011), however, this Court could not deny arbitration on this
ground. But see the more recent enlightened opinion of the

First Circuit in Cullinane v. Uber Technologies, Inc., 893 F,3d

 

 

53 (1st Cir. 2018), which makes me think I was perhaps too quick
to send these parties to arbitration.

Second, as the arbitration is to take place in Atlanta,
Georgia, Torrens-Castro made the equitable argument that he is
simply financially unable to press his claims in that distant
forum. As this fiscal reality makes no impression on a majority
of the justices of the Supreme Court, however, see, e.g., §pi§

Sys. Corp. v. Lewis, 138 S. Ct. 1612 (2018); American Exp. Co.

 

v. Italian Colors Rest., 570 U.S. 228 (2013), I am not at

 

liberty to weigh it in the balance here.
It is worth noting that this arbitration agreement is
precisely the type of agreement condemned by the Consumer

Financial Protection Bureau (“CFPB”) in its thorough study of

 

2 The Court says “statutory” rights since American citizens
resident in Puerto Rico (that's all the citizens of the
Commonwealth) do not enjoy the Seventh Amendment right to a jury
of their peers as do all other American citizens in light of the
infamous Insular Cases. §§§ Andrew Kent, The Jury and Empire:
The Insular Cases and the Anti-Jury Movement in the Gilded Age
and Progressive Era, 91 S. Cal. L. Rev. 375, 440-41 (2018).

[3]

 

 

 

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the subject. See Consumer Fin. Protection Bureau, Arbitration

Study: Report to Congress, Pursuant to Dodd-Frank Wall Street

 

Reform and Consumer Protection Act § 1028(a) (2015). The claim

 

of arbitration here is not actually seeking a faster, more
efficient, and cheaper method of dispute resolution. It is,
rather, a maneuver that effectively immunizes Salomon from
having to respond to these charges at all. §ee Jessica Silver-

Greenberg & Michael Corkery, In Arbitration, a “Privatization of

 

the Justice System”, N.Y. Times (Nov. l, 2015),

 

https://www.nytimes.com/2015/11/02/business/dealbook/in-
arbitration-a-privatization-of-the-justice-system.html; Jessica
Silver-Greenberg & Robert Gebeloff, Arbitration Everywhere,

Stacking the Deck of Justice, N.Y. Times (Oct. 31, 2015),

 

https://www.nytimes.com/2015/1l/0l/business/dealbook/arbitration
-everywhere-stacking-the-deck-of-justice.html.

It is for this reason that the CFPB banned such pre-dispute
mandatory arbitration agreements in financial areas, see 12
C.F.R. § 1040 (2017), only to have Congress overturn this ban,
see Joint Resolution, Pub. L. 115-74, 131 Stat. 1243 (2017), for
the curious reason that access to America’s courts benefits only
lawyers. §e§ 163 Cong. Rec. 86738-02 (daily ed. Oct. 24, 2017)
(statement of Sen. Cornyn), 2017 WL 4798788, at *S6755-56.

Bound by controlling law, this Court sent Torrens-Castro

and Salomon to arbitration, stayed that portion of the case, and

[4]

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ordered that the Torrens-Castro-Murillo part of the case be
ready for a final pre-trial conference in September, 2018. §e§
ECF No. 32.3

This woke up the co-defendant Michael C. Murillo
(“Murillo”). Noting that Salomon had achieved effective
immunity from suit, he decided he was entitled to the same
escape as the “agent” of Salomon. This claim comes far too
late. Aside from the issue whether Murillo has waived a claim
for arbitration, there is nothing to the claim itself.

Murillo is not an employee of Salomon and there are
allegations of fraud and misrepresentation specific to Murillo
throughout the complaint. Torrens-Castro and Murillo have no
arbitration agreement between them. Indeed, were the tables
turned and Torrens-Castro was seeking arbitration, Murillo as a
non-signatory of any such agreement would have a well nigh

insuperable defense to forced arbitration. See McCarthy v.

 

3 lt is worth nothing that this anticipated jury trial will
take place long before any arbitration between Torrens-Castro
and Salomon (even were one to take place) will get off the
ground. This is no idle speculation. My experience as a
visiting judge in nine different district courts convinces me
that even in the very busy District of Puerto Rico a trial-ready
civil case will go to trial shortly after it is actually trial
ready. District judges love to try cases. Indeed, the District
of Puerto Rico is, and has been for a number of years, one of
America’s Most Productive Federal District Courts. §e§
America’s Most Productive Federal District Courts, Fiscal Year
Ending September 30, 2017 (Dec. 14, 2017) (on file with Judge
William G. Young (D. Mass.)).

 

[5]

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Azure, 22 F.3d 351, 355 (lst Cir. 1994). But see Sourcing

Unlimited, lnc. v. Asimco Int’l, Inc., 526 F.3d 38, 48 (lst Cir.

 

 

2008). For these reasons, this Court denied Murillo's claim for
arbitration, ECF No. 42, and pressed on toward a prompt trial.

Balked at escaping liability, Murillo appeals, ECF No. 43,
as is his undoubted right. He claims that were he to face a
trial before a jury of his peers, he would lose his contractual
right to arbitration and thus he may maintain an interlocutory
appeal. Here, where there is no such agreement at all, it is
hard for this Court to see what he is talking about.
Nevertheless, this Court scrupulously honors Murillo's right to
such an appeal.

Accordingly, this case is ordered administratively closed.
It may be reopened upon motion of either party upon the
conclusion of appellate proceedings.

So now months will pass, memories will dim, neither party
will be able to engage in the discovery necessary to develop
their case. As a practical matter, the appeal is probably
dispositive of the case. If Torrens-Castro wins, he will be
back at the beginning of the litigation having exhausted much of
his apparently meager resources just to keep the courthouse
doors open. If Murillo wins, he will avoid further litigation

costs as it is likely no fact-finder will ever examine the

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merits. Perhaps this is the best our system of justice can do
for our citizens. Somehow it seems wrong.

SO ORDERED.

 
 

WILLIAM G.
DISTRICT J DG

  
 

